
PER CURIAM.
It now appearing from the petition for habeas corpus and from the return of the-respondent that the petitioner was sentenced to confinement and committed to the-custody of the Division of Corrections for a term of six months to 10 years upon his. plea of guilty to the charge of breaking and entering with intent to commit a misdemeanor, and that the maximum penalty for such crime is five years in the state prison or county jail, and it being conceded by the respondent that the sentence imposed is excessive.
It is ordered that the petitioner be remanded to the custody of the respondent and that the respondent procure his return to the Circuit Court of Volusia County for the imposition of a new sentence conform*689ing to the provisions of Section 810.05, Florida Statutes 1957, F.S.A.
THOMAS, C. J., and ROBERTS, DREW, THORNAL and O’CONNELL. JJ., concur.
